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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

VERITAS INDEPENDENT PARTNERS, LLC, :

               Plaintiff,                            :       Case No. 1:18-cv-769

v.                                                   :       Judge Barrett

THE OHIO NATIONAL LIFE
INSURANCE COMPANY, et al.,                           :

               Defendants.                           :

                                 NOTICE OF APPEARANCE

       The undersigned counsel hereby enters an appearance on behalf of Defendants The Ohio

National Life Insurance Company; Ohio National Life Assurance Corporation; Ohio National

Equities, Inc.; and Ohio National Financial Services, Inc., in the above-referenced action. Please

serve all pleadings, motions, and the like at the following address:

                              Marion H. Little, Jr.  (0042679)
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                                                     Respectfully submitted,

                                                     /s/ Marion H. Little, Jr.
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                                                     Attorneys for Defendants
      Case: 1:18-cv-00769-MRB Doc #: 3 Filed: 11/08/18 Page: 2 of 2 PAGEID #: 46



                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on November 8, 2018, a copy of the foregoing was

filed electronically with the Clerk of this Court using the CM/ECF system, which will send

notification of such filing to all counsel of record to this action


                                                        /s/ Marion H. Little, Jr.
                                                        Marion H. Little, Jr. (0042679)

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